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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


In re:                                         )
                                               )
BRUCE ALLEN KIMBLEY
                                               ) Case No. 22-01465-JMC-13
BARBARA LYNN KIMBLEY                           )
                                               )
Debtors.


TRUSTEE'S RESPONSE TO DEBTORS’ MOTION TO MODIFY SECURED DEBT WITH ASO
                                    EQUITY PARTNERS, LLC


         Comes now John M. Hauber, Chapter 13 Trustee, through counsel, and in response to
Debtors’ Motion To Modify Secured Debt, would advise the Court as follows:
         The debtors are in month 12 of their plan. The case was confirmed on October 25,

2022. The debtors’ plan provides for the repayment of the debtors’ matured mortgage in full

through the Trustee conduit. The debtors are current in their plan payments to the Trustee.

         The modification appears to be designed to extend the mortgage term for ten years with

ongoing monthly payments and a balloon payment in 2033. While the Trustee will likely have

no objection to the debtors modifying the mortgage assuming the post-modification payments

will continue to be made through the Trustee, the Trustee is unable to consent because the

debtors’ Motion lacks sufficient direction relating to the post-modification payments and the

payment of the Notice of Post-Petition Fees filed on June 16, 2022.

         For these reasons, your Trustee requests that a hearing be set on the Debtors’ Motion.
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                                                                  Respectfully submitted,

                                                                 Office of the Chapter 13 Trustee


___4/3/23______                                                    /s/ Marion Miller
DATE                                                              Marion (Molly) Miller, 22854-49
                                                                  Office of John M. Hauber, Trustee
                                                                  320 N. Meridian St., Suite 200
                                                                  Indianapolis, Indiana 46204


                                        CERTIFICATE OF SERVICE
        I do hereby certify that a copy of the foregoing instrument has been served upon the following
individuals by placing same in the United States mail, first class postage pre-paid, this 3rd day of April,
2023.



Bruce Allen Kimbley                                         Mark S. Zuckerberg,
706 S. Worth Ave                                            Margaret@waltonlegal.net
Indianapolis, IN 46241

Barbara Lynn Kimbley
6703 Troon Way
Indianapolis, IN 46237




                                                            By:____/s/ Marion Miller________
